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 7

 8         UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
 9
                                             OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA                     ) Case No.: 2:11-CR-00211-02
12                                                )
                                                  ) STIPULATION AND ORDER TO
13                  Plaintiff,                    )
                                                  ) EXTEND THE TIME FOR SELF
14            vs.                                 ) SURRENDER OF DEFENDANT
                                                  ) MANSORE RAHIMI
15   MANSORE RAHIMI                               )
                                                  )
16                                                )
                                                  )
17                  Defendant.                    )
                                                  )
18                                                )
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19                                                )
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              Case 2:11-cr-00211-MCE Document 54 Filed 04/10/13 Page 2 of 3


 1        The parties hereby stipulate and agree that Defendant, MANSORE RAHIMI’S voluntary
 2
     surrender date, previously set for April 10, 2013 at 2:00 p.m. be extended to May 10, 2013
 3
     at 2:00 p.m. Surrender is to take place at a designated custody facility or the United States
 4
     Marshal’s office pursuant to instruction given to the Defendant by the United States Marshal
 5
     Service. The request for the extension is needed because of the fact that certain medical
 6
     paperwork to facilitate the Defendant’s surrender to a designated custody facility is not yet
 7
     ready. This delay is not being caused by the Defendant.
 8

 9

10   So stipulated:

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12   Dated: April 9, 2013                          /s/ Michael M. Beckwith
                                                   ______________________________
13                                                 MICHAEL M. BECKWITH
                                                   ASSISTANT U.S. ATTORNEY
14                                                 ATTORNEY FOR PLAINTIFF
15

16
     Dated: April 9, 2013                          /s/ Vitaly B. Sigal
17                                                 ______________________________
                                                   VITALY B. SIGAL
18                                                 ATTORNEY FOR DEFENDANT
                                                   MANSORE RAHIMI
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 1

 2
                                                 ORDER
 3

 4
          UPON GOOD CAUSE BEING SHOWN AND BY STIPULATION OF THE PARTIES the court
 5
     orders that the date for Defendant’s self-surrender is extended to May 10, 2013 at 2:00 p.m.
 6
     The Defendant is to surrender to a facility designated by the Bureau of Prisons or to the
 7
     custody of the U.S. Marshals Service (USM) as designated by the United States Marshals
 8
     Service.
 9
            IT IS SO ORDERED.
10
     DATED: APRIL 10, 2013
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                                              __________________________________________
13                                            MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                              UNITED STATES DISTRICT JUDGE
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